08-13555-mg                       Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                                      1 Pg 1 of 206



   Schedule 4

                Proofs of C(aim
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                  1 Pg 2 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                  1 Pg 3 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                  1 Pg 4 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                  1 Pg 5 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                  1 Pg 6 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                  1 Pg 7 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                  1 Pg 8 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                  1 Pg 9 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 10 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 11 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 12 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 13 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 14 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 15 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 16 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 17 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 18 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 19 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 20 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 21 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 22 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 23 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 24 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 25 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 26 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 27 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 28 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 29 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 30 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 31 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 32 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 33 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 34 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 35 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 36 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 37 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 38 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 39 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 40 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 41 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 42 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 43 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 44 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 45 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 46 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 47 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 48 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 49 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 50 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 51 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 52 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 53 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 54 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 55 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 56 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 57 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 58 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 59 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 60 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 61 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 62 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 63 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 64 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 65 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 66 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 67 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 68 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 69 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 70 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 71 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 72 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 73 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 74 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 75 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 76 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 77 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 78 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 79 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 80 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 81 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 82 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 83 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 84 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 85 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 86 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 87 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 88 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 89 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 90 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 91 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 92 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 93 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 94 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 95 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 96 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 97 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 98 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 99 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 100 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 101 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 102 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 103 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 104 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 105 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 106 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 107 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 108 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 109 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 110 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 111 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 112 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 113 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 114 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 115 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 116 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 117 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 118 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 119 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 120 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 121 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 122 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 123 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 124 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 125 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 126 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 127 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 128 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 129 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 130 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 131 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 132 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 133 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 134 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 135 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 136 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 137 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 138 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 139 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 140 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 141 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 142 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 143 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 144 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 145 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 146 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 147 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 148 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 149 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 150 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 151 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 152 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 153 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 154 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 155 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 156 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 157 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 158 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 159 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 160 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 161 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 162 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 163 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 164 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 165 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 166 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 167 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 168 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 169 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 170 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 171 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 172 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 173 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 174 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 175 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 176 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 177 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 178 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 179 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 180 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 181 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 182 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 183 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 184 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 185 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 186 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 187 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 188 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 189 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 190 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 191 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 192 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 193 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 194 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 195 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 196 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 197 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 198 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 199 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 200 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 201 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 202 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 203 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 204 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 205 of 206
08-13555-mg   Doc 52603-1   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 1 Pg 206 of 206
